     Case 2:21-cv-07331-RGK-MAR Document 19 Filed 03/01/22 Page 1 of 4 Page ID #:57



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12
                              UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                Case No. 2:21-cv-7331-RGK(MARx)
16
                 Plaintiff,                    STIPULATION AND REQUEST TO STAY
17                                             CIVIL FORFEITURE ACTION PENDING
                       v.                      CONCLUSION OF RELATED CRIMINAL
18                                             INVESTIGATION AND CASE;[PROPOSED]
                                               ORDER THEREON LODGED UNDER
      $325,680.00 IN U.S. CURRENCY,            SEPARATE COVER
19
                 Defendant.
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21    HERSHEL TSIKMAN, VLADIMIR
      TSIKMAN and POLINA TSIKMAN,
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                 Claimants.
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            Plaintiff United States of America (“the government”), on the
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      one hand, and claimants Hershel Tsikman, Vladimir Tsikman and Polina
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      Tsikman (“claimants”), on the other hand, by the signatures of their
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      attorneys hereunder, hereby stipulate and request that this civil
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     Case 2:21-cv-07331-RGK-MAR Document 19 Filed 03/01/22 Page 2 of 4 Page ID #:58



1     forfeiture case be stayed pending the conclusion of an ongoing

2     federal criminal investigation and the criminal case The People of

3     the State of California v. David Sutton, Brian Sutton, Vladimir

4     Tsikman, Hershel Tsikman, Roman Kardonskiy, Jaid Gorban, Felix

5     Lantsman, et al., Santa Clara Superior Court Case No. C2007796, in

6     which claimants Hershel Tsikman and Vladimir Tsikman are named as

7     defendants (the “related criminal case”). 1       The government represents

8     that the criminal investigation and criminal case and the instant

9     civil forfeiture litigation are related because they arise out of the
10    same facts and will involve many of the same issues of fact and law,
11    and judicial economy will be served by staying this action.
12          Pursuant to the mandatory stay provision, 18 U.S.C. § 981(g):
13                (1)   Upon the motion of the United States, the court shall
14                      stay the civil forfeiture proceeding if the court
15                      determines that civil discovery will adversely affect
16                      the ability of the Government to conduct a related
17                      criminal investigation or the prosecution of a related
18                      criminal case.

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22         1 A copy of the complaint in the related criminal case is
      attached hereto as Exhibit A. In addition, there are three other
23    civil forfeiture cases, also involving criminal defendants in the
      related criminal case (i.e., Felix Lantsman, Jaid Gorban/Ksenia
24    Yudina and David Sutton) which have been stayed pending the
      resolution of the related criminal investigation and related criminal
25    case. See United States of America v. $709,900.00 in U.S. Currency,
      Case No. 2:21-cv-07191-RGK(MARx) (docket nos. 24 and 25), United
26    States of America v. $250,000.00 in U.S. Currency, Case No. 2:21-cv-
      07188-RGK(MARx) (docket nos. 21 and 22) and United States of America
27    v. $1,083,740.00 in U.S. Currency, et al., Case No. 2:21-cv-007279-
      RGK(MARx) (docket nos. 24 and 25).
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     Case 2:21-cv-07331-RGK-MAR Document 19 Filed 03/01/22 Page 3 of 4 Page ID #:59



1                 (2)   Upon the motion of a claimant, the court shall stay

2                       the civil forfeiture proceeding with respect to that

3                       claimant if the court determines that -

4                            (A)   the claimant is the subject of a related

5                                  criminal investigation or case;

6                            (B)   the claimant has standing to assert a claim

7                                  in the civil forfeiture proceeding; and

8                            (C)   continuation of the forfeiture proceeding

9                                  will burden the right of the claimant
10                                 against self-incrimination in
11                                 the related investigation or case.
12          Here, the parties agree that the matter should be stayed.           The
13    government is unwilling to respond to civil discovery that would
14    result in claimants and others receiving information they are not
15    entitled to receive during the course of the criminal investigation
16    and case.    Claimants, who have filed claims to reflect claimants’
17    standing in this civil forfeiture action, as well as others may be
18    unable to respond to government discovery requests or provide

19    deposition testimony under oath without endangering their Fifth

20    Amendment rights.     The parties respectfully request that the Court

21    stay this civil forfeiture action until the criminal investigation

22    and criminal case are completed.       The government proposes that it

23    file reports regarding the status of the criminal investigation and

24    / / /

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     Case 2:21-cv-07331-RGK-MAR Document 19 Filed 03/01/22 Page 4 of 4 Page ID #:60



1     related criminal case commencing on May 4, 2022,          and every ninety

2     days thereafter to enable the Court to monitor the status of this

3     matter.

4                                        Respectfully submitted,

5     Dated: February 28, 2022           TRACY L. WILKISON
                                         United States Attorney
6                                        SCOTT M. GARRINGER
                                         Assistant United States Attorney
7                                        Chief, Criminal Division
                                         JONATHAN GALATZAN
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9
10                                       /s/ Victor A. Rodgers             ____
                                         VICTOR A. RODGERS
11                                       MAXWELL COLL
                                         Assistant United States Attorneys
12                                       Asset Forfeiture Section
13                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
14

15    Dated: February 28, 2022           BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
                                         DROOKS, LINCENBERG & RHOW, P.C.
16

17
                                         /s/ Benjamin N. Gluck                  _
18                                       BENJAMIN N. GLUCK

19                                       Attorneys for Claimants
                                         HERSHEL TSIKMAN, VLADIMIR TSIKMAN and
20                                       POLINA TSIKMAN

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